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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,

Civil Action No.
v.

STEVEN R. GARFINKEL AND
MICHAEL O’HANLCN,

Defendants.

 

COMPLAINT
Plaintiff Securities and Exchange Commission (“Commission”) alleges the
following against defendants Steven R. Garfmkel (“Garfmkel”) and Michael O’Hanlon
(“O’Hanlon”) (collectively “Defendants”):
SUMMARY
l. This case involves a financial fraud, Which caused the collapse of DVI,
Inc. (“DVI”), a specialty finance company that loaned money to small healthcare service
providers for the purchase of high-end medical equipment Between approximately
August 1999 and August 2003 (“the relevant time period”), DVI’s Chief EXecutive
Officer and President, Michael O’Hanlon, and its Chief Financial Offlcer, Steven R
Garfmkel, used fraudulent means to conceal the company’s liquidity crisis from investors

and to fraudulently obtain additional funding from its commercial lenders.

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2. Beginning in 1999, to conceal a growing cash crisis at DVI, O’Hanlon and
Garfinkel engaged in a fraudulent scheme to obtain additional funding from its lines-of-
credit by pledging collateral that did not meet the quality-related criteria specified in the
loan covenants In addition, O’Hanlon and Garfinkel sent DVI’s commercial lenders
false monthly reports to make it appear that there was adequate and appropriate collateral
securing the lines-of-credit. As DVI’s financial crisis worsened, O’Hanlon and
Garfinkel, who were responsible for reporting on collateral compliance to the company’s
lenders, manipulated paperwork to enable DVI to double pledge collateral and falsify
reports to its lenders.

3. O’Hanlon and Garfinkel concealed the cash crisis and fraudulent scheme
from investors by knowingly filing false and materially misleading Commission reports
and issuing false and materially misleading press releases. In furtherance of their
scheme, O’Hanlon and Garfinkel also aided and abetted DVI’s filing violations by
knowingly falsifying or causing others to falsify certain books and records,
circumventing internal controls and misleading DVI’s auditors

4. In July 2003, during a compliance audit, one of DVI’s lenders discovered
the fraudulent scheme. Once the rest of DVI’s lenders learned of the fraud, they
promptly terminated their lines-of credit to DVI, eliminating the company’s ability to
borrow money. Without cash to meet its financial commitments, DVI filed for
bankruptcy in August 2003.

5. By engaging in the conduct described in this Complaint, Defendants
violated Sections lO(b) and l3(b)(5) of the Securities EXchange Act of 1934 (“Exchange

Act”) [l5 U.S.C. §§ 78j(b) and 78m(b)(5)] and Rules lOb-5, l3b2-l, l3b2-2 and 13a-14

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thereunder [17 C.F.R. § 240.10b-5, 240.13b2-l, 240.13b2-2 and 240.l3a-l4], and aided
and abetted DVI’s violations of Sections l3(a) and l3(b)(2)(A) of the EXchange Act [15
U.S.C. §§ 78m(a) and 78m(b)(2)(A)] and Rules 12b-20, 13a-1 and 13a-13 thereunder [17
C.F.R. § 240.12b-20, 240.13a-1 and 240.13a-l3].

6. Accordingly, the Commission seeks: (a) entry of a permanent injunction
prohibiting Defendants from further violations of the relevant provisions of the EXchange
Act; (b) seeks civil penalties from O’Hanlon; and (c) and order permanently prohibiting
Defendants from acting as officers or directors of any issuer that has a class of securities
registered pursuant to Section 12 of the EXchange Act or that is required to file reports
pursuant to Section 15(d) of the EXchange Act; and (d) any other relief this Court deems
is necessary and appropriate under the circumstances

JURISDICTION AND VENUE

7. The Commission brings this action pursuant to Sections 2l(d) and 21(e) of
the EXchange Act [15 U.S.C. §§78u(d) and 78u(e)], to enjoin such acts practices and
courses of business and to obtain civil money penalties and such other and further relief
as the Court may deem just and appropriate.

8. This Court has jurisdiction over this action pursuant to Sections 2l (d),
21(e) and 27 of the Exchange Act [15 U.S.C. §§ 78u(d), 78u(e) and 78aa].

9. Venue is appropriate in this District pursuant to Section 27 of the
EXchange Act [15 U.S.C. § 78aa]. Certain of the acts, practices, and courses of business
constituting the violations alleged herein occurred within the Eastern District of
Pennsylvania because DVI had its headquarters in, and conducted business in, the Eastern

District of Pennsylvania

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DEFENDANTS

10. Steven R. Garfinkel, age 65, is currently incarcerated in Fort Dix, New
Jersey, and is a former resident of Philadelphia, Pennsylvania Garfinkel joined DVI in
1995 and is its former Executive Vice President and Chief Financial Officer. He was
placed on administrative leave on August 13, 2003, after his involvement in the double-
pledging of collateral was discovered and his employment was formally terminated on
April 14, 2004.

11. Michael O’Hanlon, age 62, a resident of West Palm Beach, Florida, is the
former President and Chief Executive Officer of DVI. O’Hanlon joined DVI in March
1993 and served as an Executive Vice-President until November 1995 when he became
CEO and President. O’Hanlon officially resigned from DVI on August 11, 2003, but
continued as a consultant to DVI until September 2, 2003. Since leaving DVI, O’Hanlon
established, and has been employed as a consultant by, Cypress, lnc., a company that
provides consulting to health care companies

RELEVANT ENTITIES

l2. DVI, Inc. was a Delaware corporation headquartered in Jamison,
Pennsylvania, and the parent holding company for DVI Financial Services, Inc., DVI
Business Credit, Inc., and other related DVI subsidiaries Between 1994, the year before
O’Hanlon became CEO, and 2002, DVI’s net financed assets grew from $232 million to
$1.4 billion. For its fiscal year-end June 30, 2002, DVI had total revenues of
approximately $139 million, over $l.7 billion in reported assets, $229 million in

shareholder equity and 506 full-time employees DVI’s common stock was registered

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with the Commission pursuant to Section l2(g) of the Exchange Act and was traded on
the NYSE during the relevant period. The NYSE suspended trading in DVI’s stock on
August 14, 2003 and DVI filed for bankruptcy protection on August 25, 2003. The DVI
Liquidating Trust terminated the registration for DVI’s common stock on August 16,
2005.

13. DVI Financial, Inc. (“DVI Financial”) was a Delaware corporation
headquartered in Jamison, Pennsylvania, and was DVI’s flagship subsidiary, which
provided financing for the purchase of high-end medical equipment This entity is now
defunct.

14. DVI Business Credit Corp. (“DVI Business Credit”) was a Delaware
corporation headquartered in Jamison, Pennsylvania, that provided additional financing
to DVI’s customers based on medical accounts receivable This entity is now defunct.

FACTS

A. DVI’s Business and Financing Strategies

15. DVI was a specialty finance company, which provided loans and lease
financing to healthcare service providers, principally through its flagship subsidiary --
DVI Financial. DVI marketed itself as a specialty lender designed to help entrepreneurs
acquire expensive medical equipment for the growing out-patient medical center market.
DVI aggressiver sought new customers and new markets for its loan business

16. DVI financed its operations through two sources of funding. First, to fund
the initial loans to its customers on a short-term basis, DVI relied primarily upon various
commercial lenders to provide financing via lines-of-credit, known as warehouse lines-

of-credit. For exarnple, early in the relevant time period, Lender A provided DVI with a

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$100 million line-of-credit and throughout the relevant time period, a group of lenders
(collectively referred to as the “B Lenders”) provided DVI with a combined $150 million
Senior secured line-of-credit (“B Lenders line-of-credit”). Lender C also provided DVI
with two lines-of credit totaling $405 million during the relevant time period: (l) a
secured on-balance sheet warehouse loan of $150 million; and (2) a secured off-balance
sheet Warehouse loan of $255 million. F or ease of reference, Lender C and the B Lenders
will be collectively referred to as the “warehouse lenders”

17. These warehouse lines-of-credit were DVI’s lifeline. The company used
the cash from those credit lines to fund the loans which it, in turn, made to its customers
while DVI obtained other long-term financing for its loans As a prerequisite to loaning
DVI money on these lines-of-credit, the warehouse lenders required that DVI secure its
lines-of-credit with high quality collateral, namely other customer loans which met strict
quality-related criteria.

18. Under the terms of the loans, to protect the warehouse lenders’ exposure,
DVI could not pledge delinquent or otherwise distressed loans and the pledged loans had
to be spread among a diverse group of obligors To ensure that DVI did not borrow more
money than it had adequate collateral to support, the warehouse lenders required that DVI
send them monthly reports, called “borrowing base reports” and “servicing reports.”
These reports contained a list of the specific loans DVI used as collateral to secure the
funds it had borrowed. Further, a senior DVI official, usually Garfinkel, had to sign the
reports and certify that the collateral met the quality criteria required by the loan

covenants

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l9. Second, to raise capital and support its long-term financing, DVI
periodically bundled certain customer loans for securitization and sold bundles of its
loans to one or more special purpose entities (“SPES”), subsidiaries of DVI Financial
Services, on a quarterly basis These loans would then be securitized by the SPEs on a
semi-annual basis and DVI would sell these securitization packages on the open market,
typically to institutional investors DVI used the proceeds from these sales to pay down
the lines-of-credit, thus freeing up more money to fund new loans to its customers
During the relevant time period, Lender C was the primary underwriter for DVI’s
securitization packages Similar to the warehouse lines of credit, under the terms of its
securitization agreements the loans included in these packages had to meet strict quality-
related criteria similar to those discussed above and DVI had to submit monthly
“servicing reports” that verified that the individual loans within the securitization
packages continued to meet the required quality-related criteria.

B. DVI’s Executive Management Structure Was Insular

20. During the relevant time period, O’Hanlon controlled DVI and its
subsidiaries O’Hanlon established a management structure whereby he and Garfinkel
controlled all financial matters related to DVI’s domestic operations including all
financial matters for its subsidiaries DVI Financial and DVI Business Credit. Garfinkel
was primarily responsible for all financial matters within DVI, including its reports to
lenders Further, O’Hanlon and Garfinkel were ultimately responsible for all financial
reports to, and filings with, the Commission, the financial information in press releases to

investors and signing DVI’s Fonns 10-Q and lO-K. This insulated management structure

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permitted O’Hanlon and Garfinkel to devise, run and conceal the fraudulent scheme from
the lenders DVI’s Board of Directors, other managers within DVI and its auditor.

C. DVI’s Liguidity Problems Gave Rise to the Fraudulent Scheme

21. DVI was highly leveraged to fund its growth and relied on the
securitization of long-term, interest-bearing instruments (its loans) to repay its short-term
debts (lines-of-credit). As a result, its business was very sensitive to interest rate
changes DVI’s growth also was dependent on its ability to obtain ever increasing
amounts of short-term financing from commercial lenders Any unfavorable changes in
market conditions affecting its customers (in addition to interest rate changes) or DVI’s
financial condition could make such financing difficult to obtain or prohibitively
expensive. For example, a loss of any short-term financing could leave DVI unable to
fund the loans it had made to its customers Likewise, unfavorable market conditions
could affect DVI’s ability to securitize its customer loans and, in turn, its ability to repay
its lenders
22. Between 1999 and 2003, several factors converged and caused DVI to

face an increasing cash shortage First, O’Hanlon decided to expand DVI’s business into
foreign markets which increased DVI’s operating costs and its exposure to volatile
markets in Latin America, Europe and the Far East. As a result, DVI’s credit exposure in
its foreign operations for the years ending 2000, 2001 and 2002 exceeded $286, $315 and
$350 million, respectively. Second, DVI experienced a significant increase in non-
performing customer loans which, in turn, reduced its legitimate access to its lines-of
credit. Specifically, in mid-l999, $25 million worth of customer loans in one of DVI’s

securitization packages were not performing and were in danger of becoming delinquent

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due to late payments Under the terms of the securitization agreements DVI had several
options with regard to the non-performing loans lt could: (i) allow the distressed loans
to default; (ii) replace the distressed loans with new, performing loans; or (iii) buy back
the distressed loans

23. O’Hanlon and Garfinkel were aware that DVI could not afford any of
these options First, any default would trigger expensive acceleration clauses and
significantly reduce DVI’s credit ratings This would reduce the value of any filture
securitization packages which DVI tried to sell in the marketplace and directly impacted
DVI’s ability to raise capital. Second, DVI did not have sufficient loans in good standing
available to replace the non-performing loans in the securitization packages The
combination of the first and second factors plus the fact that one lender had concurrently
withdrawn its $100 million line-of-credit, caused DVI to be $15 million short of the
funds needed to repurchase the non-performing loans

24. Rather than attempt to work out DVI’s obligations with its lenders
Garfinkel and O’Hanlon embarked upon a fraudulent scheme to conceal the company’s
liquidity crisis and withdrew the needed money from its line-of-credit from the B
Lenders falsely representing that DVI had eligible collateral to support those loans
O’Hanlon and Garfinkel knew that because of their actions the B Lenders could have
immediately terminated DVI’s line-of-credit because DVI was “out-of-compliance” with
its loan covenants They further were aware that if the company’s out-of-compliance
status was disclosed, other lenders might lose confidence in DVI’s financial condition
and terminate their lines-of-credit, potentially resulting in the subsequent financial

collapse of DVI.

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25. O’Hanlon and Garfinkel therefore concealed the company’s cash problems
from the B Lenders to keep their access to financing open. On August 18, 1999,
Garfinkel sent O’Hanlon a memo in which he described the severity of DVI’s cash
position, urged O’Hanlon to raise additional capital from a wealthy family that was one
of DVI’S maj or shareholders (“Major Shareholders”) and discussed the fraudulent plan to
pledge ineligible collateral to access cash from the warehouse lenders in the event they
could not raise it from the Major Shareholders

26. To ensure that DVI’s August 1999 borrowing base report, which was due
to the B Lenders in October, did not reflect that DVI lacked sufficient eligible collateral
to support the amount it had drawn from the line-of-credit, Garfinkel approached an
employee in DVI’s Treasury Department who was responsible for creating the monthly
borrowing base reports and asked her to falsify this report. Although this employee
reported directly to Garfinkel, she refused to alter the report unless she received a direct
order from O’Hanlon. Subsequently, O’Hanlon told her specifically to “fix the [August
1999 borrowing base] report” to give the appearance that DVI had been in compliance
during that time period.

27. This employee subsequently modified the report and changed the
parameters of distressed loans to make them appear eligible to be used as collateral. She
also made the alterations to the borrowing base report itself as well as to an attached
Excel spreadsheet detailing the loans pledged. Although this employee normally certified
the accuracy of these reports on behalf of DVI, she refused to certify this report, which
was now false. As a result, Garfinkel certified the report on October 15, 1999, and

ensured that it was sent to the B Lenders

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28. Although the borrowing base report was falsified, no one modified the
information in DVI’s InfoLease system (“InfoLease”), the computer program the
company used to track its loans DVI used InfoLease to keep up-to-date records on its
customers’ loan values payment terms schedules and payments made, and used this
information to prepare reports for its lenders Because no one manipulated the data
contained on InfoLease, the internal records continued to reflect that DVI lacked the
requisite eligible collateral to support its line of credit.

D. DVI’s Fraudulent Conduct Escalated due to Increasing Liquidity
Problems

29. O’Hanlon and Garfinkel had hoped that these deliberate efforts to conceal
the company’s cash problems from the B Lenders would be a stop-gap measure while
O’Hanlon pursued other avenues to alleviate DVI’s cash-flow crisis DVI’s liquidity
problems however, continued to escalate. Through the spring of 2000, DVI continued to
submit reports to the B Lenders concealing the fact that it was out-of-compliance with its
lines-of-credit. In addition, DVI began using the same scheme to obtain cash from its
lines-of-credit with Lender C, again using false reports to make it appear that it was in
compliance with its loan covenants

30. At the same time, Garfinkel urged O’Hanlon to get DVI out of the
international market in order to free up capital. O’Hanlon made no significant moves to
exit the international arena and, instead, attempted to mollify Garfinkel by stating he
would find the needed cash to solve the compliance problem. He failed to do so, and by
January 2001, DVI’s liquidity crisis had reached such an extreme level that DVI did not

even have sufficient eligible collateral to pledge against its lines-of-credit.

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31. At that point, Garfinkel had DVI simultaneously pledge the same
collateral to both the B Lenders’ and Lender C’s lines-of-credit by listing the same loans
in the borrowing base reports to both entities and manipulating the Excel spread sheets
which accompanied the reports Once again, however, Garfinkel declined to manipulate
the data within the lnfoLease system, which continued to reflect insufficient collateral.

32. Following Garfinkel’s actions in February or March 2001, the employee
in DVI’s Treasury Department spoke with DVI’s in-house counsel (“In-House Counsel”)
about her ethical concerns with the continuing falsification of the borrowing-base reports
In-House Counsel voiced similar concerns concerning DVI’s aggressive loan workout
strategy. Soon after their discussions both the Treasury Department employee and In-
House Counsel resigned in March 2001. In her March 13, 2001 letter of resignation to
Garfinkel, the Treasury Department employee wrote:

I can no longer withstand the ethical dilemmas that DVI keeps
placing on me. These include funding transactions without enough
collateral to justify the borrowing of the cash and the double
pledging of assets in the [B Lenders] borrowing base. These
actions were known and directed by the executive management of
DVI. l repeatedly expressed my concerns to you and to Mike
[O’Hanlon] but there was no change in the behavior of company
management to address these issues

33. A DVI Board member, (“Board Member”), learned of this Treasury
Department employee’s resignation and spoke with Garfinkel. Garfinkel told the Board
Member that this employee resigned because DVI could not remain in compliance with
the B Lenders’ loan covenants Surprised and concerned, the Board Member confronted

O’Hanlon directly about the compliance issue. O’Hanlon falsely represented that any

non-compliance with the loan covenants was minor, likening the non-compliance to a

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checking account being overdrawn, and that DVI always quickly returned to full
compliance

34. The Board Member told O’Hanlon that he did not believe that any non-
compliance was minor and emphasized to O’Hanlon that it was imperative that DVI
remain fully compliant with the lenders’ covenants The Board Member added that he
intended to follow-up with O’Hanlon on a monthly basis to ensure that DVI was in full
compliance After this discussion, the Board Member checked in periodically with
O’Hanlon who repeatedly assured him that DVI was in compliance with its loan
covenants

35. During this same time period, O’Hanlon and Garfinkel also falsely assured
other members of the Board of Directors at meetings and in personal conversations that
DVI was in compliance with the loan covenants They repeatedly misled the Board that
DVI was in good overall financial condition and that it had the cash necessary to execute
its plans As a result, the Board was unaware of the full extent of the loan compliance
and cash liquidity problems and by September 2002, DVI’s non-compliance with its
lines-of-credit had increased to over $44 million.

36. In October 2002, DVI received an $11 million cash call from one of its
lenders which required DVI to repurchase a substantial group of defaulting loans from its
securitization pools At the same time, DVI needed to fund a $14 million payment to the
bondholders of one of its bankrupt borrowers before it would be able to refinance the
defaulted loans Since DVI had no cash, Garfinkel appealed to O’Hanlon to attempt to

find additional sources of capital.

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37. In November 2002, Garfinkel requested that O’Hanlon solve the liquidity
and compliance problems “once and for all” and sent O’Hanlon a memo, stating:
We have been dealing with out-of-compliance borrowing
bases for over two years and somehow managed to survive
We have been close to the limit before but always saw
positive cash flow ahead of us. There are now new events
that have drastically changed the dynamics of what we are
dealing with _ mainly delinquency triggers in the
securitizations. These have come about because of large
(and inappropriate) obligor concentrations An overall
increase in the delinquencies of other loans in the pools is
what has pushed the large concentration accounts over the
limit.
O’Hanlon dismissed Garfinkel’s concerns and assured him that he could obtain financing
from other lenders in the near future and that the company, by increasing its sales could
grow itself out of its liquidity crisis
38. Despite these problems in connection with its 2002 audit, DVI’s
Management Representation Letter to its auditor, dated October 11, 2002, falsely stated,
among other things: (i) “there has been no fraud or possible irregularities involving
management;” (ii) “the [c]ompany has complied with all aspects of contractual
agreements that would have an effect on the financial statements in the event of
noncompliance;” (iii) all transactions have been properly recorded in the company’s
accounting records; and (iv) “[a]rrangements with financial institutions . . . involving
restrictions on cash balances and lines-of-credit” have been properly recorded and
disclosed.
39. By early 2003, Garfinkel’s compliance report showed that for February

2003, DVl was out-of-compliance on the loan covenants with its lenders by over $120

million. Garfinkel also predicted that, by March 2003, DVI would be out-of-compliance

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by over $145 million, In a handwritten note to O’Hanlon on the report, Garfinkel Stated:
“Michael -- This is getting to extremely serious levels ....” In an undated memo from
this period written to O’Hanlon, Garfinkel discussed his own frustration at participating
in decisions made or approved by the Board about “raising capital or selling business
assets that I know would have a different answer with fuller disclosure of the company’s
liquidity situation.” Garfinkel again requested that O’Hanlon help in locating legitimate
sources of cash. In this memo, Garfinkel outlined DVI’s “history of non-compliance”
and implicated himself and O’Hanlon as responsible for DVI’s current “untenable
position,” adding that “[d]esperate people do desperate things when their backs are to the
wall . We have moved close to both cash and moral bankruptcy.”

40. O’Hanlon responded in a handwritten memo to Garfinkel that enough cash
would appear shortly to solve the immediate crisis and stated: “The following is a list of
cash deals that either have occurred or Will over the next 30 days Hopefully, this will
give you [Garfinkel] some comfort.” Despite O’Hanlon’s assurances to Garfinkel that
DVI would find outside funding, none ever actually materialized

E. Lender C Hired an Auditing Firm to Review the Loans and Collateral
and Discovered Irregularities in the Reporting

41. During approximately March 2001, a Senior Vice President of the
Treasury Department at DVI Financial (“DVI Financial VP”) became concerned that
DVI was out-of-compliance with its Lender C line-of-credit. The DVI Financial VP
expressed his concerns repeatedly to Garfinkel and O’Hanlon, who collectively told him
that the business was fine and that these issues were not part of his job responsibilities
In March 2003, the DVI Financial VP became so concerned that he independently

contacted the lender and suggested that it conduct a compliance audit.

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42. In response Lender C hired an auditing firm to perform a review of DVI’s
financial practices and procedures As part of that review, the firm reviewed a random
sample of loans that DVI had pledged as collateral During its audit, the firm called a
meeting with O’Hanlon, the President of DVI Financial who was also the Executive
Vice-President of DVI (“President of DVI Financial”), Garfinkel, the DVI Financial VP
and members of DVI’s credit department At this meeting, the firm advised those present
that DVI had pledged loans which were not in compliance with the loan covenants and
that DVI had to resolve these problems because “[Lender C would] not let this go on like
tha .” The DVI Financial VP grew increasingly concerned during the audit and resigned
on April 2, 2003.

43. On May 7, 2003, the audit firm reported to Lender C that DVI had pledged
ineligible collateral, but significantly, it did not attempt to quantify the degree to which
DVI was of out-of-compliance because it had not been retained to conduct a full audit of
DVI’s borrowing base The audit firm, therefore, did not detect the double-pledging of
collateral, which would have provided a significant red flag that DVI was in dire
financial condition.

44. In response to the audit firm’s findings Lender C imposed more stringent
procedures on DVI for obtaining funding under its lines-of-credit. lt now required, in
addition to Garfinkel’s certification of the borrowing base reports that O’Hanlon or the
President of DVI Financial sign a certification stating that the assets pledged were
eligible and did not violate any covenants under the loan agreements Going forward,

however, only Garfinkel and O’Hanlon signed the certifications

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F. The Scheme Collapsed

45. Simultaneously, DVI’s auditor was becoming suspicious about a number
of DVI loans and was pressing the company for additional information DVI’s auditor
was concerned that DVI could not justify the value of its purported $2.6 million interest
in a failing medical center located in Corpus Christi, Texas and was concerned that
DVI’s “work-out” program was not being managed effectively and simply might be
masking “bad” loans In May 2003, DVI’s auditor refused to sign off on DVI’s third-
quarter 2003 Form 10-Q and resigned on June 4, 2003, after it could not reach agreement
with DVI regarding the loan and related financing transactions f`or the Corpus Christi
medical center.

46. When it learned of the resignation of DVI’s auditor, the B Lenders hired
an outside consulting firm to perform a compliance audit at DVI. The audit included a
review of the borrowing base reports that applied to all lines-of-credit used by DVI as of
May 31, 2003. The consulting firm also requested that DVI create a Contract Balance
Remaining Roll Forward Report (“CBR Report”) for the period they were auditing. This
report, which would be created from the data in DVI’s internal InfoLease system, would
show all of the loans which DVI had pledged to the B Lenders According to the B
Lenders’ expectations the amount of the loans pledged as collateral should support the
amount of hinds DVI had drawn from its line-of-credit with the B Lenders

47. This was the first time any of the lenders or their auditors had requested
that DVI prepare this report. Garfinkel was aware that the CBR Report would clearly
reveal that DVI did not have enough collateral to support the amount it borrowed from

the B Lenders because when DVI had fraudulently pledged ineligible assets or double-

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pledged assets to its lenders it had only falsified the Excel spreadsheets submitted to the
lenders with the borrowing base reports No one had ever manipulated the data in DVI’s
internal InfoLease system, which was not shared with the lenders and, therefore reflected
the true status of all of DVI’s loans with its customers Garfinkel knew that there were
not enough loans in the InfoLease system assigned to the B Lenders to justify the amount
DVI had borrowed and, therefore, the CBR Report would expose the entire scheme

48. As a result, late in the evening on July 3, 2003, Garfinkel, for the first
time, ordered changes in the InfoLease system to conceal the imbalance before the
consulting firm began its audit. Specifically, Garfinkel directed DVI’s Cash Manager, a
low-level employee in the Treasury Department -- to enter enough loans into the
InfoLease system to reconcile the B Lenders’ accounts This employee, at Garfinkel’s
direction, “fixed” the imbalance by adding loans to the B Lenders’ account which
previously had been pledged to Lender C’s account. This manipulation would be
ultimately easily detectible, however, because anyone who manually compared the
borrowing base reports could readily determine that the same collateral was now
simultaneously pledged to both the B Lenders and Lender C.

49. The consulting firm arrived at DVI on July 7, 2003, and eventually
performed such a manual comparison lt learned that forty contracts totaling over $58
million, were currently pledged to both the Lender C’s and the B Lenders’ lines-of-credit.
The consulting firm demanded an immediate explanation

50. An employee in DVI’s Operations Department investigated the B
Lenders’ complaints and concluded that “DVI intentionally double-pledged a

Significant amount of collateral.” The employee discovered that “on at least three dates

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in July 2003, [Operations] received Contract Readjustment Request Documents
(CARDS) from [an individual] in Treasury requesting InfoLease changes to the closed
May 2003 month-end database ...[which] resulted in DVI pledging collateral to [the B
Lenders’] lines of credit which had already been pledged to [Lender C].” This employee
then telephoned and wrote a letter to her supervisor, the Chief Accounting Officer of DVI
Financial, informing him of her discovery. The Chief Accounting Officer then passed on
this letter to the DVI Board Member, who had confronted O’Hanlon before This was the
first time that the Board Member became fully aware of the severity of the situation and
DVI’s massive financial crisis

51. Once the lenders and DVI’s Board learned of the double-pledging of
collateral, Garfinkel and O’Hanlon could no longer conceal their fraudulent scheme On
August 13, 2003, DVI issued a press release and filed a Form 8-K disclosing the
existence of the fraud and indicating that the company was still investigating the matter.
DVI’s Board placed Garfinkel on administrative leave on August 13, 2003, and removed
O’Hanlon as CEO on August l 1, 2003. DVI formally terminated Garfinkel’s
employment on April 14, 2004. The Board terminated O’Hanlon’s relationship with DVI
on September 2, 2003, after his involvement in the scheme became known

52. On August 14, 2003, the day following the public announcement of the
fraud, DVI’s stock price fell almost 70 percent, from 80 cents per share to 25 cents per
share The lenders demanded repayment of all loans and DVI lost all of its outside
funding sources which left it unable to continue its operations On August 25 , 2003,

DVI filed for bankruptcy.

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G. O’Hanlon and Garfinkel made Public Misrepresentations and
Misstatements

53. As DVI’s CEO and CFO, O’Hanlon and Garfinkel were ultimately
responsible for the preparation and accuracy of the company’s filings with the
Commission and its public press releases From the outset of the fraud through DVI’s
declaration of bankruptcy, a four-year span from August 1999 through August 2003,
O’Hanlon and Garfinkel caused DVI to file a total of twelve Forrns 10-Q (plus two
amendments) and four Forrns 10-K that they knew were false and misleading and,
themselves directly issued numerous press releases which they knew contained materially
false and misleading information and omissions

54. On August 10, 1999, the date that Garfinkel and O’Hanlon first pledged
ineligible loans to fraudulently secure additional funding from the B Lenders’ line-of-
credit, O’Hanlon issued a press release regarding DVI’s fiscal year performance which
stated, “DVI delivered another strong financial performance in fiscal 1999, extending its
string of increases in net income and earnings per share . . . . During this fiscal year, the
Company widened further its financial margins maintained its credit quality, expanded
its available funding capacity and added important new institutional relationships.”
O’Hanlon did not disclose DVI’s current struggles with funding, the deteriorating quality
of the loans securing the company’s lines-of-credit or its burgeoning liquidity crisis

55. On October 28, 1999, less than two weeks after Garfinkel signed the first
falsified borrowing base report, DVI issued a press release announcing the completion of
two asset-backed securitizations. In this release Garfinkel commented:

DVI continues to use the asset-backed securitization market as part
of a balanced approach to serve the Company’s capital needs We

are pleased with the execution of both of these transactions and the
continued strong reception of our notes in this market While the

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spreads in the market vary over time the asset-backed
securitization market remains a very viable source of capital to the
Company. Increasingly, we see DVI transactions becoming a
‘benchmark’ for equipment-backed placements

Garfinkel failed to disclose that DVI was financially unbalanced, struggling with a
growing liquidity crisis and had resorted to pledging ineligible collateral to secure
funding to keep its business afloat until the securitizations were completed.

56. On November 8, 1999, DVI announced its first quarter results with the
following statement from O’Hanlon: “DVI is off to a great start toward its fiscal year
2000 new business and earnings targets.” DVI’s Form lO-Q, filed three days later,
contained the following misleading language in the Management’s Discussion and
Analysis (“MD & A”) section: “We believe that our present warehouse and permanent
funding sources are adequate to fund our current needs for our equipment and medical
receivables financing.” Significantly, the Form 10-Q contained no disclosure that DVI
risked losing both its short and long-term funding if its portfolio of loans did not contain
sufficient eligible collateral Without this risk disclosure and the factual disclosure that
DVI did not actually have sufficient eligible collateral to legitimately access those
funding sources the Form 10-Q contained affirmative misstatements about a critical
aspect of DVI’s business - its legitimate ability to access funding sources O’Hanlon and
Garfinkel, as CEO and CFO of DVI respectively, signed this Form 10-Q on November
15, 1999. As the architects of the fraudulent scheme they knew that by signing the Form
10-Q they were causing DVI to make false public statements and misrepresentations

57. Garfinkel and O’Hanlon knowingly continued to issue public statements
which falsely painted a positive picture of DVI’s financial condition and neglected any

mention of the company’s non-compliance and liquidity problems For example each of

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the Forms 10-Q for fiscal year 2000, filed in 2000 and signed by O’Hanlon and
Garfinkel, contained the identical misleading language in the MD & A section as the
1999 Forms lO-Q. In the Form 10-K, signed by Garfinkel and O’Hanlon on September
25 , 2000, DVI disclosed that its need for warehouse and permanent funding had
significantly increased, but still did not disclose that it was defrauding its lenders to
obtain access to funds needed to run its business or that it was using ineligible collateral
to access its warehouse funding.

58. In a January 16, 2001 press release O’Hanlon commented, “The rapid
growth in DVI’s managed net financed assets earnings per share and new loan
originations and commitments demonstrates the success of DVI’s strategy to be a global
leader in healthcare equipment finance.” In the Commission filings for the fiscal year
2001 , signed and certified by O’Hanlon and Garfinkel, DVI falsely represented that it had
sufficient funding to execute its growth strategies and that the company was in
compliance with the loan covenants with its commercial lenders DVI’s Form 10-K for
2001 affirmatively stated that, “as of June 30, 2001 , management believes that the
Company was in compliance with the financial covenants of these agreements”

5 9. On May 14, 2002, while DVI’s out-of-compliance position was climbing
to record highs Garfinkel and O’Hanlon participated in a third quarter earnings call for
DVI’s investors During this call, Garfinkel and O’Hanlon highlighted the strength of
DVI’s earnings and avoided any comment regarding liquidity and funding problems
Garfinkel stated: “I'd like to focus on the strong earnings excluding the charges that
were well over last year, [that] represent the core strength of the company.” O’Hanlon

emphasized, “the business of the company has never been better.” In response to a

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question posed, Garfinkel admitted that “this is a year of raising capital for the company.”
Neither O’Hanlon, nor Garfinkel disclosed that DVI was facing a dire liquidity crisis or
funding problems instead, they continued to purposely misrepresent the health of DVI.
In October 2002, Garfinkel and O’Hanlon signed and certified DVI’s Form 10-K for
fiscal year 2001, which continued to make false representations regarding its compliance
with lending covenants

60. Although the auditing firm hired by Lender C informed Garfinkel and
O’Hanlon in the late March/early April 2003 meeting that DVI was out of compliance
with its loan covenants with Lender C, Garfinkel and O’Hanlon signed and certified a
Form 10-Q filed on May 20, 2003 (for the quarter ended March 31, 2003), in which they
made the same intentional misrepresentations concerning DVI’s liquidity and compliance
as they had in previous years During the time period covered by this filing, DVI’s out-
of-compliance position had risen to over $120 million as a result of its liquidity crisis
Three months later, on August 25, 2003, DVI filed for bankruptcy because it had lost all
outside sources of funding due to the fraud it had perpetrated on its lenders

61. The misrepresentations in DVI’s periodic reports and press releases were
clearly material to investors because they were relevant to DVI’s financial viability and
survival In fact, once DVI’s fraudulent scheme became public the lenders reacted by
pulling funding and the market reacted with a 70% price drop.

FIRST CLAIM FOR RELIEF
Violations of Section 10(b) of the EXchange Act and Rule 10b-5 thereunder
62. Paragraphs l through 61 are realleged and incorporated by reference as if

fully set forth herein

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63. Defendants Garfinkel and O’Hanlon, directly or indirectly, singly or in
concert with others by use of the means or instrumentalities of interstate commerce or
the mails or of the facilities of any national securities exchange in connection with the
purchase or sale of securities knowingly or recklessly:

i. employed devices schemes or artifices to defraud,

ii. made untrue statements of material fact or omitted to state
material facts necessary in order to make the statements
made in light of the circumstances under which they were
made not misleading, and/or

iii. engaged in acts practices or courses of business which
operated or would operate as a fraud or deceit upon any
person

64. By engaging in the foregoing conduct, defendants Garfinkel and
O’Hanlon, directly or indirectly, violated and, unless restrained and enjoined, will
continue to violate Section 10(b) of the EXchange Act [15 U.S.C. § 78j(b)] and Rule 10b-
5 promulgated thereunder [17 C.F.R. § 240.10b-5].

SECOND CLAIM FOR RELIEF

Violations of Section 13(b)(5) of the EXchange Act and Rules 13b2-1 and 13b2-2
thereunder

65. Paragraphs 1 through 64 are realleged and incorporated by reference as if
fully set forth herein
66. Defendants Garfinkel and O’Hanlon, directly or indirectly, singly or in

concert with others:

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i. knowingly circumvented or failed to implement a system of
internal accounting controls or knowingly falsified any
book, record, or account required to be maintained by the
federal securities laws;

ii. falsified and/or caused to be falsified any book, record or
account required to be maintained under the federal
securities laws; and/or

iii. made or caused to be made a materially false or misleading
statement to an accountant, in connection with:

1. any audit, review or examination of the financial
statements of the issuer required to be made under
the federal securities laws or

2. the preparation or the filing of any report or
document required to be made or to be filed with
the Commission.

67. By engaging in the foregoing conduct, defendants Garfinkel and
O’Hanlon, directly or indirectly, violated and, unless restrained and enj oined, will
continue to violate Section 13(b)(5) of the EXchange Act [15 U.S.C. § 78m(b)(5)] and
Rules 13b2-1 and l3b2-2 promulgated thereunder [17 C.F.R. § 240.13b2-1 and

240.13b2-2].

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THIRD CLAIM FOR RELIEF

Violations of Rules 13a-14 of the EXchange Act

68. Paragraphs l through 67 are realleged and incorporated by reference as if
fully set forth herein
69. Defendants Garfinkel and O'Hanlon filed certifications for DVI’s required

Commission filings that contained statements that did not satisfy the requirements of
EXchange Act Rule 13a-14 [17 C.F.R. § 240.13a-14] because they contained statements
that they knew or were reckless in not knowing contained untrue statements of a material
fact or omitted to state material facts necessary to make the statements made in light of
the circumstances under which such statements were made not misleading with respect
to the period covered by the reports

70. By engaging in the foregoing conduct, defendants Garfinkel and O’Hanlon
directly violated Rule 13a-14 of the Exchange Act [17 C.F.R. § 240.13a-14].

FOURTH CLAIM FOR RELIEF

Aiding and Abetting Violations of Section 13(a) and 13(b)(2)(A) of the EXchange Act
and Rules 12b-20, 13a-1 and 13a-13 thereunder

71. Paragraphs 1 through 69 are realleged and incorporated by reference as if
fully set forth herein
72. Defendants Garfinkel and O'Hanlon knowingly provided substantial

assistance to DVI, which filed with the Commission, annual and quarterly reports that
were materially misleading and which failed to make and keep books records and
accounts which, in reasonable detail, accurately and fairly reflected its transactions and

dispositions of the company’s assets

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73. By engaging in the foregoing conduct, defendants Garfinkel and O’Hanlon
aided and abetted DVI’s violations of Sections l3(a) and 13(b)(2)(A) of the EXchange
Act [15 U.S.C. §§ 78m(a) and 78m(b)(2)(A)] and Rules 12b-20, 13a-1 and 13a-13

promulgated thereunder [17 C.F.R. § 240.12b-20, 240.13a-l and 240.13a-13].

PRAYER FOR RELIEF

WHEREFORE, the Commission respectfully requests that this Court:

A. Issue an order permanently enjoining defendants Garfinkel and O’Hanlon
from directly or indirectly violating Sections 10(b) and 13(b)(5) of the EXchange Act [15
U.S.C. §§ 78j(b) and 78m(b)(5)] and Rules 10b-5, 13b2-1, 13b2-2 and 13a-14 thereunder
[17 C.F.R. §§ 240.10b-5, 240.13b2-1, 240.13b2-2 and 240.13a-14];

B. Issue an order permanently enjoining defendants Garfinkel and O’Hanlon
from aiding and abetting violations of Sections l3(a) and 13(b)(2)(A)of the Exchange Act
[15 U.S.C. §§ 78m(a) and 78m(b)(2)(A)] and Rules 12b-20, 13a-1 and 13a-13 thereunder
[17 C.F.R. § 240.12b-20, 240.13a-1 and 240.13a-13];

C. Issue an order requiring O’Hanlon to pay civil penalties pursuant to
Section 21(d)(3) of the Exchange Act [15 U.S.C. §78u(d)(3)];

D. Issue an order prohibiting defendants Garfinkel and O’Hanlon, pursuant to
Section 21(d)(2) of the EXchange Act [15 U.S.C. § 78u(d)(2)] from acting as an officer or
director of any issuer that has a class of securities registered pursuant to Section 12 of the
EXchange Act [15 U.S.C. § 781, or that is required to file reports pursuant to Section

15(d) of the EXchange Act [l5 U.S.C. § 780(d)]; and

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E. Enter an order granting such other and further relief as the Court may

deem just and appropriate.

Date: June 25, 2009

Respectfully submitted,

 

 

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